              Case 1:22-cv-04954-LJL Document 4 Filed 06/13/22 Page 1 of 1
 AO 121 (06/16)
 TO:

                    Register of Copyrights                                              REPORT ON THE
                     U.S. Copyright Office                                      FILING OR DETERMINATION OF AN
                  101 Independence Ave., S.E.                                          ACTION OR APPEAL
                    Washington, D.C. 20559                                          REGARDING A COPYRIGHT


        In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or
appeal has been filed on the following copyright(s):
                                                                   COURT NAME AND LOCATION
 [X] ACTION                 [ ] APPEAL                             U.S. District Court, Southern District of New York
 DOCKET NO.                         DATE FILED                     500 Pearl St. New York, NY 10007
  1:22-cv-04954                     June 13, 2022                  New York New York 10007
 PLAINTIFF                                                                  DEFENDANT
 Edward Opinaldo                                                            Emily O'Hara Ratajkowski


       COPYRIGHT
                                                             TITLE OF WORK                                         AUTHOR OR WORK
     REGISTRATION NO
 1 VA 2-164-887                                                                                                Edward Opinaldo
 2
 3

In the above-entitled case, the following copyright(s) have been included:
 DATE INCLUDED                      INCLUDED BY
                                          [ ] Amendment                [ ] Answer             [ ] Cross Bill        [ ] Other Pleading
       COPYRIGHT
                                                             TITLE OF WORK                                         AUTHOR OR WORK
     REGISTRATION NO
 1
 2
 3

        In the above-entitled case, a final decision was rendered on the date entered below. A copy of the
order or judgment together with the written opinion, if any, of the court is attached.
 COPY ATTACHED                                             WRITTEN OPINION ATTACHED                              DATE RENDERED

          [ ] Order           [ ] Judgment                        [ ] Yes            [ ] No


 CLERK                                                     (BY) DEPUTY CLERK                                     DATE



                      1) Upon initiation of action, mail   2) Upon filing of document adding                  3) Upon termination of action
                        copy to Register of Copyrights       copyright(s) mail copy to Register of               mail copy to Register of
 DISTRIBUTION                                                Copyrights                                          Copyrights
                      4) In the event of an appeal, forward copy to Appellate Court                5) Case File Copy
